       Case 19-54342-pmb       Doc 17   Filed 05/06/19 Entered 05/06/19 14:50:33           Desc Main
                                        Document     Page 1 of 3
                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

      IN RE:                                                Case No.:           -5q309.
    C ky-\5)-1,07---FhpoftaS
                                                            Chapter:      \,3
                   Debtor(s)
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                           ° 4-1
•                                    —[h-               Sf-equf,s4,-,29         cojs            (Pctj
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                                                                                      (J)




      Dated:      000\9                 Signature:


                                        Printed Name:       Dny 6A-dphiD/            I hanoj

                                        Address:
                                                             )1-41060                          qq
                                                                          1c4
                                        Phone:                   4-01_    qgo- 303
     Case 19-54342-pmb           Doc 17    Filed 05/06/19 Entered 05/06/19 14:50:33            Desc Main
                                           Document     Page 2 of 3

                                 UNITED STATES BANKRUPTCY COURT

                                  NORTHERN DISTRICT OF GEORGIA

                                           ATLANTA DIVISION


IN RE: (N           '- \;CV 6(1        hOMICt           Case No:     )c1-sci3g;
                                                )       Chapter



              Debtor(s)-

                                           CERTIFICATE OF SERVICE



  I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the (1 day of YWA(3    , 201_9, I served a copy of
                                                                                   .
    (lA       1Un        "FOY   rvicx(7             \'one           rock Y-Q     rOct rav-c4
which was filed in this bankruptcy matter on the       (A9 day of   rnqV       , 20_1.9


Mode of service (check one):               0        MAILED              (J HAND DELIVERED
Name and Address of each party served (If necessary, you may attach a list.):
MelISSO             ).        Dov Ve

  9L9O              etC'
          aolce ,                303 b
I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING                   TRUE AND CORRECT.

         52
                         Cf                             Signature:
Dated:              )

                                                        Printed Name:    arts. --D1w - Tiricolca
                                                        Address:     L-jugs' Sonta I re% Tv (41(
                                                                              1-e- 1      23
                                                                       0-100 Liao-Yin
                                                        Phone:

(Generic Certificate of Service - Revised 4/13)
Case 19-54342-pmb       Doc 17    Filed 05/06/19 Entered 05/06/19 14:50:33   Desc Main
                                  Document     Page 3 of 3


U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01255974 (RS) OF 05/06/2019


ITEM   CODE     CASE             QUANTITY                     AMOUNT   BY

   1     13IN   19-54342              1                      $ 75.00   Currency
                Judge - Paul M. Baisier
                Debtor - CHRISTOPHER NATHANIEL THOMAS


TOTAL:                                                       $ 75.00


FROM: Christopher Nathaniel Thomas
      4025 Somerled Trail
      Atlanta, GA 30349




                                      Page 1 of 1
